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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

MIKHAIL FRIDMAN, PETR AVEN, and
GERMAN KHAN,

Plaintiffs,

Vv. Civil Action No. 1:17-2041-RJL

BEAN LLC a/k/a FUSION GPS, and GLENN
STMPSON,

Defendants.

 

 

LETTER OF REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON THE TAKING
OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS

The United States District Court for the District of Columbia (the “District Court” or the
“Court”) presents its compliments to the Senior Master of the High Court (Queen’s Bench
Division) of England and Wales, and requests assistance in obtaining evidence to be used in a civil
proceeding before this Court in the above-captioned proceedings (the “Action”).

This request is made pursuant to, and in conformity with The Hague Convention of 18
March 1970 on the Taking of Evidence Abroad in Civil or Commercial Matters (the “Hague
Convention’), to which both the United States and the United Kingdom are a party; the Evidence
(Proceedings in Other Jurisdictions) Act 1975; the Rules of the United States District Court for
the District of Columbia; and the Federal Rules of Civil Procedure.

The purpose of this Letter of Request (the “Request”) is to obtain oral testimony and
documentary evidence for use at trial from three non-party witnesses who all reside within your
jurisdiction: Mr. Christopher Steele, Mr. Edward Baumgartner, and Sir Andrew Wood, and (oral

testimony only) Mr. Christopher Burrows. The Request also seeks the production of documentary
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evidence from Orbis Business Intelligence Ltd. (“Orbis”), being a company co- founded by Mr.
Steele and Mr. Burrows.

The District Court considers that the evidence sought is directly relevant to the issues in
dispute and is not discovery within the meaning of Article 23 of The Hague Convention; that is, it
is discovery intended to lead to relevant evidence for trial. It is expected, based on existing
timetables, that the District Court will schedule a trial to commence in or about late 2021.

It has been demonstrated to this Court that justice cannot be done amongst the parties to
the Action without the testimony and documentary evidence of the above-named witnesses. In
conformity with Article 3 of the Hague Convention, this Court respectfully submits the following
Request.

The District Court requests the assistance of an appropriate English judicial officer to
compel the appearance of the witnesses to give oral sworn testimony and to produce documents
on the subject matters for the date ranges as described in this Request.

It is requested that the appropriate judicial officer of England and Wales issue such orders
as are necessary to implement this Request for the witnesses to produce documents and to appear
before an examiner or other appropriate judicial authority in England and Wales to take their oral
sworn testimony at deposition in conformity with the procedures of the U.S. Federal Rules of Civil
Procedure or such other procedures as are acceptable.

The testimonies and document production sought are material to the issue pending in the
Action. Plaintiffs have approached the witnesses (or their known counsel or representative) as
follows in order to ascertain whether they would be willing to provide their voluntary assistance

in the Action in the United States.
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(a) Mr. Steele, Mr. Burrows, and Orbis. Plaintiffs communicated with known United States
counsel for Mr. Steele, Mr. Burrows, and Orbis, in order to ascertain whether they would
be willing to accept service of subpoenas on their behalf in the United States to provide
oral testimony and/or produce documents. Counsel indicated that they are unwilling to
accept service of subpoenas on their behalf in the United States.

(b) Mr. Baumgartner. Plaintiffs are not aware of any counsel or representative for
Mr. Baumgartner in the United States. U.K. counsel for Plaintiffs wrote to
Mr. Baumgartner directly at his Edward Austin business address (copied to the business
email address) and asked whether Mr. Baumgartner would voluntarily produce
documentary evidence and appear for an examination. Plaintiffs will update the Court as
to any response received from Mr. Baumgartner.

(c) Sir Andrew Wood. Sir Andrew Wood does not have counsel in the United States and
Plaintiffs are not aware of any representative for Sir Andrew in the United States. U.K.
counsel for Plaintiffs wrote to Sir Andrew directly at his Chatham House business address
(copied to the gmail email address given on Sir Andrew’s Chatham House online
biography) and asked if Sir Andrew would voluntarily produce documentary evidence and
appear for an examination. Sir Andrew responded, through U.K. counsel, with
Sir Andrew’s U.K. counsel indicating that Sir Andrew is unwilling to accept service of
subpoenas in the United States.

The District Court is authorized by Title 28, United States Code, sections 1781 and 1782

to extend similar assistance on request of the judicial authorities of England and Wales.
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The District Court, through the offices of the representatives of Plaintiffs, is prepared to

reimburse the High Court of England and Wales and/or office for all costs incurred in executing

the instant Request and the assurance of its highest consideration.

The particulars of this Request pursuant to the Hague Convention are as follows:

1. Sender:

2. Central Authority of the
Requested State:

3, Person to whom the
executed request is to be
returned:

Honorable Richard J. Leon

Senior United States District Judge

United States District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

COMPETENT AUTHORITY FOR
ENGLAND AND WALES

Senior Master

Queen’s Bench Division

High Court of Justice

Royal Courts of Justice

Strand

London WC2A 2LL

UNITED KINGDOM

Plaintiff's Legal Representative in the U.K.:

Bernard O’ Sullivan

Louise Boswell

CMS Cameron McKenna Nabarro Olswang LLP

Cannon Place

78 Cannon Street

London EC4N 6AF

United Kingdom

T +44 20 7067 3594

F +44 20 7367 2000

E bernard.o’sullivan@cms-cmno.com
louise.boswell@cms-cmno.com

On behalf of:

Honorable Richard J. Leon

Senior United States District Judge

United States District Court for the District of Columbia 333
Constitution Avenue N.W.

Washington D.C. 20001
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In conformity with Article 3 of the Convention, the undersigned applicant
has the honor to submit the following requests:

4a. Requesting
Judicial Authority:

4b. To the competent
authority of:

4c. Names of the case and

any identifying number:

5. Names and addresses of
the parties and their
representatives:

a. Plaintiffs:

Honorable Richard J. Leon

Senior United States District Judge

United States District Court for the District of Columbia
333 Constitution Avenue N.W.

Washington, D.C. 20001

THE UNITED KINGDOM OF BRITAIN AND
NORTHERN IRELAND

Fridman v. Bean LLC, Case No. 1:17-CV-02041 (RJL),
United States District Court for the District of Columbia

Mikhail Fridman, Petr Aven, and German Khan

Represented in the U.S. by:

Thomas A. Clare, P.C.

Elizabeth M. Locke, P.C.

Joseph R. Oliveri

Andrew C. Phillips

CLARE LOCKE LLP

10 Prince Street

Alexandria, VA 22314

Tel: +1 (202) 628-7400

E: tom@clarelocke.com
libby@clarelocke.com
joe@clarelocke.com
andy@clarelocke.com

Represented in the U.K. by:

Bernard O’ Sullivan

Louise Boswell

CMS Cameron McKenna Nabarro Olswang LLP

Cannon Place

78 Cannon Street

London EC4N 6AF United Kingdom

T +44 20 7067 3594

F +44 20 7367 2000

E__ bernard.o’sullivan@cms-cmno.com
louise.boswell@cms-cmno.com
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b. Defendants: Bean LLC (a/k/a Fusion GPS) and Glenn Simpson

Represented in the U.S. by:
Joshua A. Levy

Rachel Clattenburg

Levy Firestone Muse LLP
1401 K St. NW, Suite 600
Washington, DC 20005

Tel: +1 (202) 845-3215

c. Other parties. The Christopher Steele

following non-parties, c/o Orbis Business Intelligence Ltd.
which are the subject of 9-11 Grosvenor

this application are as Gardens, London SW1W OBD
follows:

Represented in the U.S.! by:
Christina Hull Eikhoff
Kristin Ramsay

Alston & Bird LLP

1201 West Peachtree Street
Atlanta, GA 30309-3424

Tel: +1 (404) 881-7000

-AND-

Kelley C. Barnaby
Alston & Bird LLP

950 F Street, NW
Washington, D.C. 20004
Tel: +1 (202) 239-3687

Represented in the U.K.” by:
Reynolds Porter Chamberlain LLP
Tower Bridge House

 

' The counsel identified for Mr. Steele and Orbis represented them in connection with a separate
proceeding captioned Khan v. Orbis Business Intelligence Ltd., Case No. 18-CV-0919. Mr. Steele
and Orbis are not parties to the Action in connection with which this Request is made.

* The counsel identified for Mr. Steele and Orbis represents Orbis in connection with the action
captioned Aven and others v. Orbis Business Intelligence Ltd., Claim No. HQ18M01646 / QB-
2018-006349, in the High Court of Justice, Queen’s Bench Division, Media & Communications
List (the “U.K. Proceeding”), in which the High Court rendered a judgment in favor of Plaintiffs
on July 8, 2020. See Judgment, [2020] EWHC 1812 (QB), available at
https://www.bailii.org/ew/cases/EWHC/QB/2020/1812.html. Mr. Steele and Orbis are not parties
to the Action in connection with which this Request is made.
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St. Katharine’s Way
London E1W 1AA
United Kingdom

T: +44 20 3060 6000

Orbis Business Intelligence Ltd.

9-11 Grosvenor

Gardens, London SW1W OBD

See counsel identified on behalf of Christopher Steele

Christopher Burrows

c/o Orbis Business Intelligence Ltd.

9-11 Grosvenor

Gardens, London SW1W OBD

See counsel identified on behalf of Christopher Steele
and Orbis

Edward Baumgartner

c/o Edward Austin Limited

4 Old Park Lane

London WIK 1QW

United Kingdom
info@edward-austin.com
Counsel/representative unknown

Sir Andrew Wood

c/o The Royal Institute of International Affairs
Chatham House

10 St James’s Square

London SW1Y 4LE

United Kingdom

andrewood40@gmail.com

Represented in the U.K. by:
Reynolds Porter Chamberlain LLP
Tower Bridge House

St. Katharine’s Way

London E1W 1AA

United Kingdom

T: +44 20 3060 6244

E: ciara.cullen@rpc.co.uk
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6. Nature and purpose of the proceedings and summary of the facts:

This civil Action concerns claims of defamation brought by Plaintiffs. The statements
alleged to be defamatory are in a two-page document (sometimes referred to as a “memorandum
or a “report”) that was prepared by Christopher Steele and Orbis Business Intelligence Ltd.
(“Orbis”)? and bears the label “Company Intelligence Report 2016” (“CIR 112”). Plaintiffs allege
that Mr. Steele and Orbis prepared CIR 112 at the behest of Defendants Bean LLC (a/k/a Fusion
GPS) (“Fusion”)* and Glenn Simpson (together, with Fusion, the “Defendants”) and that
Defendants thereafter published CIR 112, including its defamatory content, to members of the
media and others. As alleged by Plaintiffs, the challenged statements are defamatory because they
falsely accuse Plaintiffs of bribery and corruption, specifically related to Vladimir Putin, and
suggest that Plaintiffs cooperated with a Kremlin-orchestrated illegal campaign to interfere with
the 2016 U.S. presidential election.

Plaintiffs seek a judgment against Defendants finding that statements about Plaintiffs in
CIR 112 are false and defamatory and that Defendants published them. Plaintiffs seek
compensatory and/or punitive damages in amounts to be proven at trial, together with interest and
costs and fees.

Defendants deny any liability to Plaintiffs and have asserted several defenses, including
that the statements about Plaintiffs are not materially false; the publication of the statements was
privileged or otherwise protected by, inter alia, the First Amendment of the U.S. Constitution, the

neutral report privilege, and/or the Fair Report Privilege (under New York Civil Rights Law

 

3 References to “Orbis” in this Request shall include Orbis’s directors, principles, employees,
contractors, agents, and representatives.

* References to “Fusion” in this Request shall include Fusion’s directors, principles, employees,
contractors, agents, and representatives.
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Section 74); and Plaintiffs should be treated as “public figures” (either general purpose public or
limited purpose)—a category which subjects Plaintiffs to a burden to show that the defamatory
statements were published with “actual malice,” i.e., published with the knowledge that the
statements were false or with reckless disregard to whether they were true or false.

Plaintiffs have represented that they do not seek disclosure of communications or
documents that are protected from disclosure by the attorney client privilege, work product
doctrine, or other applicable privilege, nor do they seek to circumvent any privilege assertions,
however Plaintiffs do not waive the right to object to or challenge the propriety or validity of
claims that documents are privileged and the basis of such privilege claims.

Although Orbis produced to Plaintiffs some documents of Orbis and Mr. Steele in the U.K.
Proceeding, no documents relating to the creation or publication of CIR 112 were produced and
Plaintiffs have a good faith belief, bolstered by admitted failures of disclosure by Mr. Steele in a
similar matter involving Mr. Steele in the U.K.,° that relevant documents exist and/or that Orbis
and/or Mr. Steele neglected to produce them. In addition, due to (i) Mr. Steele’s challenge to the
U.S. Department of Justice seeking copies of certain of documents from the U.K. Proceeding that
would normally be available under applicable English law® and (ii) the restrictions on the use of

certain other documents produced in the U.K. Proceeding pursuant to Rule 31.22 of the English

 

> In the proceedings captioned Aleksej Gubarev and another v (i) Orbis Business Intelligence
Limited and (ii) Christopher Steele, Claim No. HQ17D00413, in the High Court of Justice,
Queen’s Bench Division, the trial of which took place between 20-24 July 2020 (““Gubarev U.K.
Proceeding’). See Declaration of Alan Lewis in support of the Motion, Exhibit (“Motion Ex.’)
M, Defendants’ Closing Submissions in Gubarev U.K. Proceeding (which were made public
during the trial) at 52-57.

6 Tn the matter of an application by the United States of America (the United States Department of
Justice) made in the U.K. Proceeding.
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Civil Procedure Rules, Plaintiffs seek a separate order from the High Court permitting disclosure
of evidence for use in this U.S. proceeding.
STAGE OF THE PROCEEDINGS

This Action was commenced by the filing of a Complaint by the Plaintiffs on October 3,
2017. The Court denied Defendants’ motion to dismiss the case on January 14, 2019. The parties
exchanged written discovery requests in October 2019. Written responses to the requests were
exchanged in November 2019 and supplemented in May 2020. Deposition discovery has not yet
been completed. Fact discovery is scheduled to be concluded by mid-2021. A trial is expected in
or about late 2021 or early 2022.
THE WITNESSES AND ENTITIES FROM WHICH EVIDENCE IS SOUGHT

Christopher Steele,’ c/o Orbis Business Intelligence Ltd., located at 9-11 Grosvenor
Gardens, London SW1W OBD.

Orbis Business Intelligence Ltd., located at 9-11 Grosvenor Gardens, London SW1W
OBD.

Christopher Burrows,’ c/o Orbis Business Intelligence Ltd., located at 9-11 Grosvenor
Gardens, London SW1W OBD.

Edward Baumgartner,’ c/o Edward Austin Limited, located at 4 Old Park Lane, London

WIK 1QW.

 

7™Mr. Steele is a director and joint founder of Orbis. See https://orbisbi.com/about-orbis/.
8 Mr. Burrows is a director and joint founder of Orbis. See https://orbisbi.com/about-orbis/.

° Mr. Baumgartner is a founder and managing director of Edward Austin Limited (“Edward
Austin”). See https://www.edward-austin.com/about/team/.

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Sir Andrew Wood,"° c/o The Royal Institute of International Affairs, Chatham House, 10
St James's Square, London SW1Y 4LE.

THE RELEVANCE OF EVIDENCE IS SOUGHT

Mr. Steele is the co-founder and director of Orbis and compiled the information in
CIR 112, including the defamatory statements about Plaintiffs at issue in this Action, and disclosed
or provided CIR 112 (and the other reports that have collectively become known as the “Dossier”)
to others. As set forth in Plaintiffs’ Motion In Support of Request for International Judicial
Assistance (“Motion”), Defendants have formally identified Mr. Steele as an individual likely to
have information relevant to this Action and Defendants’ claims and defenses, such as information
relating to “CIR 112, including recipients of CIR 112, research related to matters in CIR 112,
events related to topics in CIR 112, and delivery of CIR 112.”!!

Mr. Burrows co-founded Orbis with Mr. Steele and was involved in briefings regarding
the research project relating to the defamatory statements, the content of the research, and the
engagement of Orbis for this research project. Defendants have identified Mr. Burrows as an
individual likely to have information relevant to this Action and Defendants’ claims and defenses,
such as the “relevant conduct of Orbis and Christopher Steele; Christopher Steele, including his
experience, work, process, and engagement by Defendants.”!”

Orbis is the intelligence gathering firm founded by Mr. Steele and Mr. Burrows which was

retained by Defendants in 2016 and which produced CIR 112, including the statements about

 

'0 Sir Andrew Wood is an Associate Fellow in the Russia and Eurasia Programme at Chatham
House. See https://www.chathamhouse.org/expert/sir-andrew-wood.

'! Motion Ex. C, Defendants’ First Amended Rule 26(a)(1) Initial Disclosures (“Defendants’
Initial Disclosures”), Section 1.

'2 Motion Ex. C, Defendants’ Initial Disclosures, Section 1.

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Plaintiffs at issue in this Action. Defendants acknowledge engaging Orbis to “look into then-
candidate Trump’s activities in Russia, in support of Defendants’ ongoing research activities” and
that Mr. Steele and Mr. Burrows were some of the people at Orbis with whom “Defendants mainly
communicated.”!? Orbis is likely to have information and documentary evidence relevant to the
issues in this Action, including the engagement of Orbis, the research conducted, the compilation
of CIR 112, and the statements about Plaintiffs at issue in this Action.

Edward Baumgartner co-founded the U.K. based research and intelligence firm Edward
Austin and assisted Fusion with the 2016 research at issue in this Action. Defendants have formally
identified Mr. Baumgartner as an individual likely to have information relevant to this Action and
Defendants’ claims and defenses, including the “research related to matters in CIR 112.”14

Sir Andrew Wood is a former British diplomat with or to whom Mr. Steele discussed or
transmitted the research at issue in this Action in 2016. Defendants have formally identified
Sir Andrew Wood as an individual likely to have information relevant to this Action and
Defendants’ claims and defenses, including the “receipt and delivery of CIR 112.”

SUBJECTS FOR ORAL EXAMINATION AND REQUESTS FOR PRODUCTION OF
DOCUMENTARY EVIDENCE

The District Court requests that Christopher Steele be ordered to attend for examination
to give evidence about the matters identified in Attachment A hereto and be ordered to produce
documentary evidence responsive to the requests identified in Attachment B hereto.

The District Court requests that Orbis Business Intelligence Ltd. be ordered to produce

documentary evidence responsive to the requests identified in Attachment C hereto.

 

'3 Motion Ex. F, Defendants’ Answer to Interrogatory No. 12.
'4 Motion Ex. C, Defendants’ Initial Disclosures, Section 1.

'S Motion Ex. C, Defendants’ Initial Disclosures, Section 1.

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The District Court requests that Christopher Burrows be ordered to attend for
examination to give evidence about the matters identified in Attachment D hereto.

The District Court requests that Edward Baumgartner be ordered to attend for
examination to give evidence about the matters identified in Attachment E hereto and be ordered
to produce documentary evidence responsive to the requests identified in Attachment F hereto.

The District Court requests that Sir Andrew Wood be ordered to attend for examination
to give evidence about the matters identified in Attachment G hereto and be ordered to produce
documentary evidence responsive to the requests identified in Attachment H hereto.

For the reasons set forth in the Plaintiffs’ Motion in Support of Request for International
Judicial Assistance, the District Court believes that the witnesses (whose contact details are given
below) will be able to provide documentary evidence and testimony directly relevant to the main
issues between the parties in the Action and without which the ends of justice could not be properly
met.'® The District Court believes that this information is not available from any other source.

7. Evidence to be obtained: _ Plaintiffs seek oral testimony from Christopher Steele,
Christopher Burrows, Edward Baumgartner, and Sir
Andrew Wood. These individuals are not parties to the
Action and the Plaintiffs are not seeking any relief against
any of these witnesses.
Plaintiffs seek documentary evidence from Christopher
Steele, Edward Baumgartner, Sir Andrew Wood, and

Orbis Business Intelligence Ltd.

8. Identity and addresses of Christopher Steele
persons to be examined: — c/o Orbis Business Intelligence Ltd., located at 9-11

 

'6 The term “documents” shall have the same broad meaning and scope as given to these terms in
or pursuant to the U.S. Federal Rules of Civil Procedure and applicable law, including (but not
limited to) hard copy documents and files as well electronic or computerized data, e-mails, text
messages, etc. The term “communications” shall mean the transmittal of data or information by
any means, including (but not limited to) meetings, conversations, discussions, documents,
correspondence, messages, text messages, e-mails, notes, WhatsApp messages, Slack messages,
Skype messages, or other means of transmittal.

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9. Subject matter about
which the witnesses will
be examined:

10. Documents or other

property to be inspected:

11. Any requirement that
the evidence be given on
oath or affirmation and
any specific form to be
used:

Grosvenor Gardens, London SW1W OBD

Christopher Burrows
c/o Orbis Business Intelligence Ltd., located at 9-11
Grosvenor Gardens, London SW1W OBD

Edward Baumgartner
c/o Edward Austin Limited 4 Old Park Lane
London WIK 1QW

Sir Andrew Wood

c/o The Royal Institute of International Affairs
Chatham House

10 St James’s Square

London SW1Y 4LE

United Kingdom

The subject matter for the examination of the relevant
witnesses are itemized in Attachments A, D, E, and G.

Plaintiffs request that the relevant witnesses produce to the
Examiner and to Plaintiffs’ Counsel, no later than 7
calendar days before the date on which the Examination is
due to commence the documents set out under
Attachments B, C, F and H.

The witnesses should be examined under oath or
affirmation or in the alternative should be instructed of the
consequences of giving untruthful and false answers under
the laws of England and Wales.

12. Special methods or procedures to be followed:

The District Court respectfully requests the following with respect to the oral testimony

and production of documents being sought:

(1) that the High Court appoint an English Examiner for the purpose of compelling oral

testimony for use at trial from English witnesses;

(2) that the parties’ representatives or their designees, a court reporter, and a videographer

be permitted to be present during the examination either physically or via remote or

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virtual means; that the representatives or designees be permitted to examine and cross-

examine the witnesses directly; and that a court reporter and a videographer be

permitted to make a verbatim record of the proceedings; and

(3) in connection with the taking of testimony of the witnesses, Plaintiffs have permission

to refer the witnesses to documents previously produced or available in the Action.

Request for notification
of the times and place
for the execution of the
Request and identity of
the person to be notified:

Request for attendance or
participation of judicial
personnel of the
requesting authority at
the execution of the
Letter of Request:

Specification of privilege
or duty to refuse to give
evidence under the laws
of the State of origin:

It is requested that testimony be taken at such place, date or
time as ordered by the Senior Master and/or as otherwise
scheduled by the representatives of the Plaintiffs and/or as
otherwise agreed to by the witnesses and the respective
representatives of the parties.

None.

In relation to claims for privilege under the laws of the
United States or the laws of England and Wales, regard shall
be had to section 3 of the Evidence (Proceedings in Other
Jurisdictions) Act 1975.

Under the laws of the United States, a party has a privilege to
refuse to give evidence if the evidence discloses a
confidential communication between that party and an
attorney for that party that was made for the purpose of
obtaining legal advice.

Parties also enjoy limited privileges on other grounds not
expected to be relevant here such as communications between
physician and patient, psychotherapist and patient, husband
and wife, or clergy and penitent.

U.S. law also recognizes a privilege against criminal self-
incrimination.

Outside the strict area of privilege, certain limited immunities
are available that may place restrictions on the giving of
evidence, such as the limited protection of documents created
as the work product of attorneys during or in anticipation of

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Fees and costs:

Date of Request:

Signature and seal of the
Requesting Authority

litigation.

The fees and costs incurred which are reimbursable under the
second paragraph of Article 14 or under Article 26 of the
Hague Convention will be borne by Plaintiffs.

Kole AD, _, 2021

UNITED STATES OF AMERICA

Or States District Court fer the District of Columbia

By: Honorable Ri¢hard J. Leon

Senior United States District Judge
UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA
333 Constitution Avenue N.W.
Washington, DC 20001

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10.

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ATTACHMENT A

Proposed Subjects for Oral Examination of Christopher Steele

. In general terms, Mr. Steele’s educational background, employment history, professional

qualifications and personal preparation for the examination (including contacts with the
parties, their lawyers, insurers, or representatives), excluding any privileged communications
or confidential! details regarding any government service.

Retention of Mr. Steele and/or Orbis in 2016 by Fusion relating to CIR 112 and the scope and
purpose of the retention.

Communications and meetings in 2016 and 2017 between Mr. Steele and Defendants Glenn
Simpson or Fusion or any Fusion sub-contractors regarding Plaintiffs, Alfa, CIR 112, or the
statements about Plaintiffs in CIR 112.

Communications and meetings in 2016 and 2017 between Mr. Steele and Jonathan Winer
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

. Communications and meetings in 2016 and 2017 between Mr. Steele and reporters or news or

media organizations regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in
CIR 112.

Communications and meetings in 2016 and 2017 between Mr. Steele and David Kramer
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

The drafting and compilation in 2016 of CIR 112 and its promotion.

Delivery, transmission, or disclosure of CIR 112 in 2016 and 2017 to other persons or entities,
including Defendants, Mr. Kramer, Mr. Winer, reporters and members of the media.

The steps taken by Mr. Steele, Orbis, or Defendants to corroborate, verify or investigate the
information and statements about Plaintiffs in CIR 112.

The destruction, return, or non-retention of the following documents: (a) CIR 112, including
work product, memoranda, source information, drafts or analysis relating to CIR 112; (b)
communications between Mr. Steele and Defendants Simpson or Fusion in respect to CIR 112;
and (c) engagement agreements between Mr. Steele and/or Orbis on one hand and Fusion on
the other which govern the creation or promotion of CIR 112.

Communications and meetings in 2016 and 2017 between Mr. Steele and Igor Danchenko
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

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—_—

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ATTACHMENT B

Proposed Requests for Production of Documentary Evidence from Christopher Steele

. Documents setting out the terms of Orbis’s and/or Mr. Steele’s engagement with or retention

by Fusion in connection with the compilation or preparation of CIR 112 and its promotion.

Documents setting out the scope and purpose of the work that Mr. Steele and Orbis were to
perform in connection with the compilation or preparation of CIR 112 and its promotion.

Communications between Mr. Steele and Defendants Glenn Simpson or Fusion (including
documents referencing or referenced in such communications) regarding Plaintiffs, Alfa,
CIR 112, or the statements about Plaintiffs in CIR 112, within the period 01 April 2016 to 03
October 2017.

Communications between Mr. Steele and Jonathan Winer (including documents referencing
or referenced in such communications) regarding Plaintiffs, Alfa, CIR 112, or the statements
about Plaintiffs in CIR 112, within the period 01 September 2016 to 10 January 2017.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Mr. Steele and Mr.
Winer relating to meetings regarding Plaintiffs, Alfa, CIR 112, or the statements about
Plaintiffs in CIR 112, including the meeting between Mr. Steele and U.S. Department of State
officials and Mr. Winer on or about 11 October 2016.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Mr. Steele and the New
York Times, the New Yorker, the Washington Post, Yahoo! News, CNN, Mother Jones, and/or
BuzzFeed, relating to meetings regarding Plaintiffs, Alfa, CIR 112, or the statements about
Plaintiffs in CIR 112, including the meeting between Mr. Steele and Michael Isikoff and Jane
Mayer at the Tabard Inn on or about 22 September 2016.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Mr. Steele and the New
York Times, the New Yorker, the Washington Post, Yahoo! News, CNN, Mother Jones, and/or
BuzzFeed regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

Communications (including documents referencing or referenced in such communications)
between Mr. Steele and David Corn of Mother Jones via Skype on 31 October 2016 regarding
Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Mr. Steele and David
Kramer regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112,
including text messages or other types of messages between Mr. Steele and Mr. Kramer on or
about 29 December 2016.

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Documents within the period 01 July 2016 to 10 January 2017 relating to the drafting and
compilation of CIR 112; notes, research, investigative files used in the drafting of CIR 112;
and drafts or different versions of CIR 112.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Mr. Steele and
Defendants, Mr. Kramer, Mr. Winer, reporters and members of the media, or others regarding
the delivery, transmission, or disclosure of CIR 112.

Communications within the period 01 July 2016 to 10 January 2017 (including documents
referencing or referenced in such communications) between Mr. Steele and Defendants, Mr.
Kramer, Mr. Winer, reporters and members of the media, or others concerning the steps taken
by Mr. Steele, Orbis, or Defendants to corroborate, verify, or investigate the information and
statements about Plaintiffs in CIR 112.

Documents concerning the destruction, return, or non-retention of documents within the period
01 July 2016 to the present in respect to: (a) CIR 112, including work product, memoranda,
source information, drafts or analysis relating thereto; (b) communications between Mr. Steele
and Defendants Simpson or Fusion in respect to CIR 112; and (c) engagement agreements
between Orbis and/or Mr. Steele on one hand and Fusion on the other which govern the
creation or promotion of CIR 112.

Communications within the period 01 April 2016 to 03 October 2017 (including documents
referencing or referenced in such communications) between Mr. Steele and Igor Danchenko
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

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ATTACHMENT C

Proposed Requests for Production of Documentary Evidence from Orbis Business
Intelligence Ltd.

. Documents setting out the terms of Orbis’s and/or Mr. Steele’s engagement with or retention
by Fusion in connection with the compilation or preparation of CIR 112 and its promotion.

. Documents setting out the scope and purpose of the work that Orbis and Mr. Steele were to
perform in connection with the compilation or preparation of CIR 112 and its promotion.

Communications between Orbis or Mr. Steele and Defendants Glenn Simpson or Fusion
(including documents referencing or referenced in such communications) regarding Plaintiffs,
Alfa, CIR 112, or the statements about Plaintiffs in CIR 112, within the period 01 April 2016
to 03 October 2017.

Communications between Orbis or Mr. Steele and Jonathan Winer (including documents
referencing or referenced in such communications) regarding Plaintiffs, Alfa, CIR 112, or the
statements about Plaintiffs in CIR 112, within the period 01 September 2016 to 10 January
2017.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Orbis or Mr. Steele
and Mr. Winer relating to meetings regarding Plaintiffs, Alfa, CIR 112, or the statements about
Plaintiffs in CIR 112, including the meeting between Mr. Steele and U.S. Department of State
officials and Mr. Winer on or about 11 October 2016.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Orbis or Mr. Steele
and the New York Times, the New Yorker, the Washington Post, Yahoo! News, CNN, Mother
Jones and/or BuzzFeed, relating to meetings regarding Plaintiffs, Alfa, CIR 112, or the
statements about Plaintiffs in CIR 112, including the meeting between Mr. Steele and Michael
Isikoff and Jane Mayer at the Tabard Inn on or about 22 September 2016.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Orbis or Mr. Steele
and the New York Times, the New Yorker, the Washington Post, Yahoo! News, CNN, Mother
Jones, and/or BuzzFeed regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs
in CIR 112.

. Communications (including documents referencing or referenced in such communications)
between Orbis or Mr. Steele and David Corn of Mother Jones via Skype on 31 October 2016
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

Communications within the period 01 September 2016 to 10 January 2017 (including

documents referencing or referenced in such communications) between Orbis or Mr. Steele
and David Kramer regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in

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CIR 112, including text messages or other types of messages between Mr. Steele and Mr.
Kramer on or about 29 December 2016.

Documents within the period 01 July 2016 to 10 January 2017 relating to the drafting and
compilation of CIR 112; notes, research, investigative files used in the drafting of CIR 112;
and drafts or different versions of CIR 112.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Orbis or Mr. Steele
and Defendants, Mr. Kramer, Mr. Winer, reporters and members of the media, or others
regarding the delivery, transmission, or disclosure of CIR 112.

Communications within the period 01 July 2016 to 10 January 2017 (including documents
referencing or referenced in such communications) between Orbis or Mr. Steele and
Defendants, Mr. Kramer, Mr. Winer, reporters and members of the media, or others concerning
the steps taken by Mr. Steele, Orbis, or Defendants to corroborate, verify, or investigate the
information and statements about Plaintiffs in CIR 112.

Documents concerning the destruction, return, or non-retention of documents within the period
01 September 2016 to the present in respect to: (a) CIR 112, including work product,
memoranda, source information, drafts or analysis relating thereto; (b) communications
between Orbis or Mr. Steele and Defendants Simpson or Fusion in respect to CIR 112; and (c)
engagement agreements between Orbis and/or Mr. Steele on one hand and Fusion on the other
which govern the creation or promotion of CIR 112.

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ATTACHMENT D
Proposed Subjects for Oral Examination of Christopher Burrows

In general terms, Mr. Burrows’s educational background, employment history, professional
qualifications and personal preparation for the examination (including contacts with the
parties, their lawyers, insurers, or representatives), excluding any privileged communications
or confidential details regarding any government service.

The drafting and compilation in 2016 of CIR 112 and its promotion.

. The destruction, return, or non-retention of the following documents: (a) CIR 112, including
work product, memoranda, source information, drafts or analysis relating to CIR 112; (b)
communications with Defendants Glenn Simpson or Fusion in respect to CIR 112; and (c)
engagement agreements between Orbis and/or Mr. Steele on one hand and Fusion on the other
which govern the creation or promotion of CIR 112.

. Delivery, transmission, or disclosure of CIR 112 in 2016 to other persons or entities, including
Defendants, David Kramer, Jonathan Winer, reporters and members of the media.

. The steps taken by Mr. Burrows, Mr. Steele, Orbis, or Defendants to corroborate, verify or
investigate the information and statements about Plaintiffs in CIR 112.

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ATTACHMENT E
Proposed Subjects for Oral Examination of Edward Baumgartner

In general terms, Mr. Baumgartner’s educational background, employment history,
professional qualifications and personal preparation for the examination (including contacts
with the parties, their lawyers, insurers, or representatives), excluding any privileged
communications or confidential details regarding any government service.

. The nature and terms of Mr. Baumgartner’s, and/or his firm’s, engagement by Fusion in 2016
relating to Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112, and the
scope and purpose of the engagement.

. Mr. Baumgartner’s research regarding Plaintiffs, Alfa, CIR 112, or the statements about
Plaintiffs in CIR 112.

. Preparation of Mr. Baumgartner’s report titled “ALFA Dossier Open Sources.”

Communications in 2016 or 2017 between Mr. Baumgartner and Defendants Glenn Simpson
or Fusion regarding the report titled “ALFA Dossier Open Sources.”

. Communications in 2016 or 2017 between Mr. Baumgartner and Defendants Glenn Simpson
or Fusion regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112.

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ATTACHMENT F
Proposed Requests for Production of Documentary Evidence from Edward Baumgartner

1. Documents setting out the terms and scope of Mr. Baumgartner’s engagement by Fusion
relating to Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112 or its
promotion.

2. Documents within the period 01 April 2016 to 03 October 2017 related to the preparation of
the report titled “ALFA Dossier Open Sources.”

3. Communications within the period 01 April 2016 to 03 October 2017 between Mr.
Baumgartner and Defendants Glenn Simpson or Fusion regarding the report titled “ALFA
Dossier Open Sources.”

4. Communications within the period 01 April 2016 to 03 October 2017 between Mr.
Baumgartner and Defendants Simpson or Fusion regarding Plaintiffs, Alfa, CIR 112, or the
statements about Plaintiffs in CIR 112.

5. Documents regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112,
within the period 01 April 2016 to 03 October 2017.

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ATTACHMENT G
Proposed Subjects for Oral Examination of Sir Andrew Wood

. In general terms, Sir Andrew Wood’s educational background, employment history,
professional qualifications and personal preparation for the examination (including contacts
with the parties, their lawyers, insurers, or representatives), excluding any privileged
communications or confidential details regarding any government service.

. Communications in 2016 and 2017 between Sir Andrew Wood and Christopher Steele
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112, including in
September 2016 around the time that Mr. Steele and Orbis transmitted CIR 112 to Fusion.

. Communications and meetings in 2016 and 2017 between Sir Andrew Wood and David
Kramer or U.S. Senator John McCain regarding Plaintiffs, Alfa, CIR 112, or the statements
about Plaintiffs in CIR 112, including the meetings with Mr. Kramer and Senator McCain in
November 2016 in Halifax, Nova Scotia.

. Communications and meetings between Mr. Kramer and Mr. Steele in 2016 and 2017
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112, including
the meeting between Mr. Kramer and Mr. Steele in London in November 2016 which
Sir Andrew Wood arranged.

. The steps taken by Sir Andrew Wood, Mr. Steele, Orbis, or Defendants to corroborate, verify
or investigate the information and statements about Plaintiffs in CIR 112.

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ATTACHMENT H
Proposed Requests for Production of Documentary Evidence from Sir Andrew Wood

Communications within the period 01 September 2016 to 10 January 2017 between Sir Andrew
Wood and Mr. Steele (including documents referencing or referenced in such communications)
regarding Plaintiffs, Alfa, CIR 112, or the statements about Plaintiffs in CIR 112, including in
September 2016 around the time that Mr. Steele and Orbis transmitted CIR 112 to Defendant
Fusion and relating to the meeting between Mr. Kramer and Mr. Steele in London in November
2016.

. Communications within the period 01 September 2016 to 10 January 2017 between Sir Andrew
Wood and David Kramer or U.S. Senator John McCain (including documents referencing or
referenced in such communications) regarding Plaintiffs, Alfa, CIR 112, or the statements
about Plaintiffs in CIR 112, including the meetings with Mr. Kramer and Senator McCain in
November 2016 in Halifax, Nova Scotia.

Communications within the period 01 September 2016 to 10 January 2017 (including
documents referencing or referenced in such communications) between Sir Andrew Wood and
Mr. Steele, Mr. Kramer, Orbis, or Defendants concerning the steps taken by Sir Andrew Wood,
Mr. Steele, Orbis, or Defendants to corroborate, verify, or investigate the information and
statements about Plaintiffs in CIR 112.

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